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                                   COUNT TWO
                  (Deprivation of Rights Under Color of Law)

       11.   Paragraphs .l through 10 of Count One of this Indictment are re­

alleged and incorporated as if set forth in full herein.

       12.   On or about January 5, 2018, in Mercer County, in the District of

New Jersey, and elsewhere, the defendant,

                                  JUSTIN UBRY,

while acting under color of law, unlawfully kicked snow into the face of

Victim 1 during the arrest of Victim 1, thereby willfully depriving Victim 1 of

the right, secured and protected by the Constitution and laws of the United

States, to be free from the use of unreasonable force by a law enforcement

officer.

       In violation of Title 18, United States Code, Section 242.




                                             A TRUE BILL




Acting United States Attorney




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                                  21-872 (MAS)
                    CASE NUMBER: ____    _

              United States District Court
                District of New Jersey
                UNITED STATES OF AMERICA

                                   v.

                  MICHAEL DELAHANTY,
               MATTHEW PRZEMIENIECKI, and
                      JUSTIN UBRY


                    INDICTMENT FOR
                           18   u.s.c. § 242

                A True Bill,




                       RACHAEL A. HONIG
                   ACTING UNITED STATES ATTORNEY
                   FOR THE DISTRICT OF NEW JERSEY

                          MARTHA        K.   NYE
                       ASSISTANT U.S. ATTORNEY
                        TRENTON, NEW JERSEY
                            609-989-0579
